                                                                                        FILED
                                                                               2018 Jun-14 AM 10:57
                                    EXHIBIT 1                                  U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION


LAKEISHA CHESTNUT, et al.                   )
                                            )
                   Plaintiffs,              )
                                            )     Case No. 2:18-cv-00907-JEO
                   v.                       )
                                            )
JOHN H. MERRILL, in his official            )
Capacity as Alabama Secretary of State      )
                                            )
                   Defendant.               )


              STATEMENT OF MARC ELIAS IN SUPPORT
           OF APPLICATION FOR ADMISSION PRO HAC VICE


      Marc Elias declares under penalty of perjury as follows:

      1.     My residence address is 186 River Park Drive, Great Falls, VA

22066.

      2.     My office address, telephone number, facsimile number and email

address are as follows:

                   Marc E. Elias
                   PERKINS COIE, LLP
                   700 13th St. N.W., Suite 600
                   Washington, D.C. 20005-3960
                   Phone: (202) 654-6338
                   Fax: (202) 654-9106
                   MElias@perkinscoie.com
      3.       The courts to which I am admitted to practice and the dates of

admission are as follows:

                                                                  Date of
                                Court                            Admission
           District of Columbia                                   6/30/94
           US Supreme Court                                       2/23/09
           US Court of Appeals, D.C. Circuit                       1/4/95
           US Court of Appeals, 3rd Circuit                      3/15/2010
           US Court of Appeals, 4th Circuit                       8/19/14
           US Court of Appeals, 5th Circuit                       8/26/11
           US Court of Appeals, 9th Circuit                       9/27/16
           US Court of Appeals, 10th Circuit                      6/17/99
           US District Court for the District of Columbia          1/9/95
           US District Court for the Northern District of
           Florida                                                 11/2015
           US District Court for the Eastern District of
           Michigan                                                 6/2/95
           US District Court for the Western District of
           Wisconsin                                               5/10/15
           11th Circuit Court of Appeals                           9/26/17


      4.       I am in good standing and eligible to practice in all courts to which I

am admitted.

      5.       The local member of the bar of this Court who will also represent the

Plaintiffs, in this matter, with whom opposing counsel and the Court may readily

communicate regarding the conduct of the matter and on whom papers may be

served, is:

                     Richard Rouco
                     Quinn, Connor, Weaver, Davies & Rouco LLP
                     Two North 20th Street, Suite 930
                                                   2
                 Birmingham, AL 35203
                 (205) 870-9989
                 (205) 803-4143 (FAX)
                 rrouco@qcwdr.com
     6.    I have read and understand:

           (a)    The local rules applicable in this District;

           (b)    The Alabama State Bar Code of Professional Courtesy and the

           Lawyer’s Creed, accessed at:

           https://www.alabar.org/membership/code-of-professional-

           courtesy/, https://www.alabar.org/membership/lawyers-creed/; and

           (c)    This court’s CM/ECF requirements.

     I declare under penalty of perjury that the foregoing is true and correct.


                                      s/ Marc E. Elias
                                      Marc E. Elias


Dated: June 14, 2018




                                                3
